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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Criminal Action No.
                                                            10-CR-20388-1
vs.
                                                            HON. MARK A. GOLDSMITH
D-1 LAMONTE WATSON, JR.,

            Defendant.
_____________________________/

                       ORDER STRIKING DOCKET ENTRY NO. 368

       Defendant Lamonte Watson, Jr. is represented in this action by counsel, Robert J. Dunn.

Nevertheless, acting pro se, Defendant filed a Motion for Order for Government Agents and Law

Enforcement Officers to Retain Rough Notes (docket entry 368) on July 15, 2011.

       Since Defendant is represented by counsel, Defendant is attempting to proceed in a “hybrid”

fashion, both through counsel and pro se by way of his submission. See McKaskle v. Wiggins, 465

U.S. 168, 183 (1984). Although the Sixth Amendment guarantees defendants the right to conduct

their own defense by representing themselves, see Faretta v. California, 422 U.S. 806 (1975), the

right of self-representation does not include the right to proceed in a hybrid manner. See McKaskle,

465 U.S. at 183 (“Faretta does not require a trial judge to permit ‘hybrid’ representation”). See also

United States v. Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987) (“the question whether to allow a

defendant to participate in his own defense along with counsel in ‘hybrid representation’ is a matter

committed to the sound discretion of the trial court”).

       The Court, in the exercise of its discretion, will not permit Defendant to proceed in a hybrid

manner. Therefore, Defendant’s pro se submission—docket entry 368—is stricken from the record.

Any relief sought by Defendant must be sought through counsel unless Defendant elects to exercise
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his right to proceed without counsel.

       SO ORDERED.

Dated: July 15, 2011                                s/Mark A. Goldsmith
       Flint, Michigan                              MARK A. GOLDSMITH
                                                    United States District Judge

                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on July 15, 2011.

                                                    s/Deborah J. Goltz
                                                    DEBORAH J. GOLTZ
                                                    Case Manager
